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 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10
11    United States of America,                   No. 2: 12-CR-169-MCE-11
12                    Plaintiff,                  STIPULATION AND ORDER TO
                                                  CONTINUE SENTENCING
13             v.
                                                  Judge: Hon. Morrison C. England, Jr.
14    Beshiba Cook,                               Time: 10:00 a.m.
                                                  Date: June 21, 2018
15                    Defendant.
16
17   IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel, Jason Hitt, Assistant United States Attorney, and Dustin D. Johnson, Counsel
19   for BESHIBA COOK, that:
20      1. By previous order, this matter was set for sentencing on April 19, 2018.
21      2. By stipulation, the parties now move to continue sentencing to June 21, 2018.
22      3. The parties agree and stipulate that this continuance will provide both parties
23         additional time to prepare for sentencing by, inter alia, researching issues
24         pertinent to making a recommendation to the Court for a proposed sentence.
25   IT IS SO STIPULATED.
26         The prosecutor has authorized defense counsel to sign this stipulation on his
27   behalf.
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 1          The probation officer has no objection to continuing the judgment and sentencing
 2   hearing to June 21, 2018 and has provided the following briefing schedule based on the

 3   new Judgment and Sentencing Date of June 21, 2018
 4      •   Reply, or Statement of Non-Opposition: June 14, 2018.
 5      •   Motion for Correction of the Presentence report shall be filed with the Court and
 6          served on the Probation Officer and opposing Counsel no later than: June 7,
 7          2018.
 8      •   The Presentence Report shall be filed with the Court and disclosed to counsel no
 9          later than: May 31, 2018
10      •   Counsel’s Written Objections to the Presentence Report shall be delivered to the
11          Probation officer and opposing counsel no later than: May 24, 2018.
12
13   Dated: March 21, 2018                            /s/ Dustin D. Johnson
                                                      DUSTIN D. JOHNSON
14                                                    Counsel for Defendant
                                                      Beshiba Cook
15
16   Dated: March 21, 2018                            McGregor W. Scott
                                                      United States Attorney
17
18                                                    /s/ Jason Hitt (approved via email)
                                                      Jason Hitt
19                                                    Assistant United States Attorney
20
21
                                              ORDER
22
            IT IS SO ORDERED.
23
     Dated: March 26, 2018
24
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